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                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS


Charles Victor Thompson

v.                                           Case Number: 4:13−cv−01900

William Stephens




                              NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable
Peter Bray
PLACE:       by video
             United States District Court
             515 Rusk Avenue
             Houston, Texas 77002
DATE: 9/29/2021

TIME: 01:00 PM
TYPE OF PROCEEDING: Motion Hearing
Motion for Appointment − #84


Date: September 24, 2021
                                                        Nathan Ochsner, Clerk
